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                                  THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          AMARILLO DIVISION

TERRA PARTNERS; TERRA XXI, LTD.;
ROBERT WAYNE VEIGEL;
ELLA MARIE WILLIAMS VEIGEL;
VEIGEL FARMS, INC.; VEIGEL CATTLE
COMPANY; and VEIGEL FARM PARTNERS,

          Plaintiffs,

v.                                                                    No. 2:15-cv-236-J

AG ACCEPTANCE CORPORATION,

          Defendant.


                                       ENTRY OF APPEARANCE

          COMES NOW the law firm of Keleher & McLeod, P.A. (Justin B. Breen and Jeffrey A.

Dahl) and hereby enters its appearance on behalf of Plaintiffs in this case.

          Plaintiffs request that the Clerk make a notation on the docket of the appearance by the

undersigned attorneys on behalf of Plaintiffs, and that they be provided notice of all hearings and

proceedings before this Court.

          Dated this 28th day of August, 2015.




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                                           Respectfully submitted,
                                           KELEHER & MCLEOD, P.A.

                                           By: /s/ Justin B. Breen
                                              /s/ Jeffrey A. Dahl
                                              Filed Electronically on August 28, 2015
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THIS HEREBY CERTIFIES that on August 28, 2015, I electronically filed the foregoing
document with the Clerk of the Court for the Northern District Of Texas by using the CM/ECF
system, which will send a notice of electronic filing to the following CM/ECF participants:

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